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                     UNITED STATES DISTRICT COURT
                           DISTRICT OF IDAHO
                   U.S. DISTRICT JUDGE MINUTE ENTRY


(X) Telephonic Status Conference


U.S. District Judge: B. Lynn Winmill                       Date: November 4, 2019
Deputy Clerk: Sunny Trumbull                               Time: 2:33 – 2:56 p.m.
Court Reporter: Tammy Hohenleiter


              USA vs. BABICHENKO et al, Case No. 1:18-cr-00258-BLW


 Counsel for: Plaintiff: Katherine Horwitz and Timothy Flowers
              Defendants: JD Merris for Natalya Babichenko
                      Paul Riggins for Piotr Babichenko
                      Melissa Winberg, Dick Rubin & Nicole Owens for Anna Iyerusalimets
                      Ellen Horras Smith for Mikhail Iyerusalimets
                      Rob Lewis for Timofey Babichenko
                      Greg Silvey for Kristina Babichenko
                      Robyn Fyffe for David Bibikov
                      Jeffrey Brownson for Gennady Babichenko
                      John DeFranco for Pavel Babichenko


The Court noted this matter is set for a Telephonic Status Conference to discuss the status of
discovery.

Counsel expressed concerns to the Court regarding discovery and expert witnesses.

The Court advised counsel to coordinate amongst themselves to resolve stated issues.

The Court will conduct another status conference in approximately 4 weeks. The hearing will be set
by a separate notice.
